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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                       FILED
                                                                for the                                                   Mar 30 2022

                                                                                                                         Mark B. Busby

                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________                              CLERK, U.S. DISTRICT COURT
                                                                                                                NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                        SAN FRANCISCO


                  United States of America                          )
                             v.                                     )
                  Charles Richard Barrett
                                                                    )      Case No.3:22-mj-70424 MAG
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               12/25/2013 to 02/18/2014         in the county of           San Francisco                      in the
     Northern          District of            California       , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. 2252(a)(2)                            Receipt of Child Pornography




         This criminal complaint is based on these facts:
See attached affidavit of Special Agent Christine Brital.




         ✔ Continued on the attached sheet.
         ’

                                                                                                 Christine Brital
                                                                                              Complainant’s signature
                             /s/ Kevin Yeh
         Approved as to form _______________
                                                                              Special Agent, Homeland Security Investigations
                                   Kevin Yeh
                            AUSA __________
                                                                                               Printed name and title

Sworn to before me by telephone.


Date:             03/30/2022
                                                                                                 Judge’s signature

City and state:                         San Francisco, CA                   Hon. Joseph C. Spero, Chief U.S. Magistrate Judge
                                                                                               Printed name and title
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                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Christine Brital, a Special Agent with the Department of Homeland Security (DHS),

U.S. Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI) in

San Francisco, California, being duly sworn, depose and state as follows:

                                         INTRODUCTION

         1.      I make this affidavit in support of a Criminal Complaint and Arrest Warrant

charging Charles Richard BARRETT with receipt of child pornography, in violation of Title 18,

United States Code, section 2252(a)(2).

         2.      In connection with my official duties, I have participated in the investigation of

BARRETT for receiving child pornography from a minor on or about December 25, 2013, to

February 18, 2014. In connection with my official duties, I have obtained the following

information from my investigation. Due to my personal participation in this investigation, I am

familiar with the facts and circumstances of this case. My experience as an HSI Special Agent

and my participation in this investigation form the basis of the opinions and conclusions set forth

below.

         3.      Because this affidavit is submitted for the limited purpose of this criminal

complaint and to secure an arrest warrant, I have not included each and every fact known to me

about this investigation. Rather, I have set forth those facts that I believe are sufficient to

establish probable cause that Charles Richard BARRETT committed the aforementioned offense.

                                     AGENT BACKGROUND

         4.      I have been employed as a Special Agent with ICE since March 2003. Prior to

my position with ICE, I was a Special Agent with the United States Customs Service from


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October 2001 until March 2003. I am currently assigned to the Special Agent in Charge, San

Francisco, where it is my primary duty to investigate individuals involved in the sexual

exploitation of minors.

       5.      I have personally participated in the execution of numerous search warrants,

including the search, seizure, and analysis of data stored within computers and other electronic

media. I have received various training in investigating and enforcing federal child

pornography and exploitation laws in which computers are used as the means for receiving,

transmitting, distributing, storing, and possessing images of minors engaged in sexually explicit

conduct.

                                  APPLICABLE STATUTES

       6.      Title 18, United States Code, Section 2252(a)(2) prohibits any person from

knowingly receiving or distributing, or attempting or conspiring to receive or distribute, any

visual depiction using any means or facility of interstate or foreign commerce, or that has been

mailed or shipped or transported in or affecting interstate or foreign commerce, or which

contains materials which have been mailed or so shipped or transported, by any means including

by computer, or knowingly reproducing any visual depiction for distribution using any means or

facility of interstate or foreign commerce, or in or affecting interstate or foreign commerce or

through the mails, if the production of such visual depiction involved the use of a minor

engaging in sexually explicit conduct and such visual depiction is of such conduct.

                          FACTS ESTABLISHING PROBABLE CAUSE

       7.      On June 18, 2020, HSI San Francisco executed a federal search warrant for the

residence of Marc NUNEZ based on his suspected crimes related to the sexual exploitation of


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children. NUNEZ shared this residence with Charles BARRETT, his significant other at the

time. 1 Multiple items were seized from the residence and forensic review of those items has

been ongoing since their seizure.

       8.      One (1) item found in BARRETT and NUNEZ’s residence was identified as an

Apple Macbook Pro, Model A1502 (identified as line item 4). Within the last two weeks, I

encountered evidence on that device that BARRETT received sexually explicit images involving

minors, specifically pertaining to MINOR VICTIM 68 (V68) and SUSPECTED MINOR

VICTIM 69 (V69).

       9.      A device identifier for owner information for the aforementioned Apple Macbook

Pro was listed as “d*chuck*@sbcglobal.net.” 2 Additional owner information was found listing

a device phone name of “Charles Barrett’s iPod,” as well as a device phone name of “Charles

Barrett’s iPhone,” a device phone number ending in 9393, and Apple ID of

d*chuck*@sbcglobal.net. Also found in the Apple Macbook Pro was a letter and resume for

Charles BARRETT which listed the same address as the residence referenced above, with a

telephone number ending in 9393 and email address of CharlesBarrett***@gmail.com. The

letter was addressed to the Middle School Director for a position as a Music Teacher at a school

located in Oakland, CA. Another resume and letter were also located for BARRETT applying

for a position as a K-8 Music Teacher at a school in Palo Alto, CA, with the same contact

information.




1
  Although the current relationship status of NUNEZ and BARRETT is unknown, in
approximately December of 2020, NUNEZ stated that he and BARRETT had married.
2 Throughout this affidavit, asterisks are used to protect contact information.

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       10.    Located in the aforementioned Apple Macbook Pro was a text message

conversation between BARRETT and V68, who was using a telephone number ending in 7445,

from December 25, 2013, to February 18, 2014. I reviewed the text message exchange between

BARRETT and V68. During their interactions, V68 informed BARRETT that he was 16 years

old. Nevertheless, BARRETT (who was 24 years old at the time) continued interacting with

V68, sent V68 sexually explicit images of himself, and encouraged V68 to send BARRETT

sexually explicit images of V68, which BARRETT received. During the period from December

25, 2013, to February 18, 2014, V68 sent, and BARRETT received, at least nine (9) sexually

explicit images of V68, which lasciviously displayed V68’s genitalia or depicted anal manual

penetration. An excerpt of their exchange follows:

              BARRETT (12/25/2013): Hehe you should send me one too ;)
              V68 (12/25/2013): [Image of a nude post pubescent male taken from the groin
              area towards his feet. The post pubescent male has his hand placed on the shaft
              of his penis - IMG_6001.jpeg]
              BARRETT (12/25/2013): Damnn nicee
              BARRETT (12/25/2013): I like your foreskin
              V68 (12/26/2013): You too You're so fucking sexy;)
              V68 (12/26/2013): I love those hairy balls;)
              BARRETT (12/26/2013): Yeahh? Come play with them ;)
              V68 (12/26/2013): [Image of a nude post pubescent male, approximately 15-18
              years of age. The image focuses on the post pubescent male’s chest and face
              with a partial view of his penis head and shaft - IMG_7285.jpeg] I just got out of
              the shower ;)
              V68 (12/26/2013): [Image of a nude post pubescent male taken from the groin
              area towards his feet. The post pubescent male has his hand placed on the shaft
              of his penis - IMG_3135.jpeg]

       11.    I obtained an image of BARRETT from the California Department of Motor

Vehicles (DMV). The individual in that DMV photograph appears to be the same individual

encountered by law enforcement, including myself, during the search of the residence of



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NUNEZ and BARRETT on June 18, 2020.

       12.    On March 24, 2022, I identified BARRETT as a member of the faculty of the Alta

Vista School, an independent junior kindergarten through 8th grade school based in San

Francisco. According to the faculty and staff section of the school’s website, BARRETT is

currently a music teacher in its middle school. A photograph of BARRETT is on the school’s

website. The individual in that photograph appears to be the same individual previously

identified during the search of NUNEZ and BARRETT’s residence on June 18, 2020, as well as

the same individual in the DMV photograph. BARRETT also appeared to be the same person in

at least some of the images sent to V68 and V69 (discussed below).

       13.    On March 25, 2022, HSI Special Agent Stephanie Augusta and I spoke with V68.

The interview was conducted via FaceTime and an audio recording was made of the interview.

V68 provided his date of birth, which confirmed that he was 16 years of age between December

25, 2013, and February 18, 2014, when V68 and BARRETT were communicating. V68 also

confirmed that his telephone number was and still ends in 7445.

       14.    V68 did not identify BARRETT in a photographic lineup; however, when shown

an image of BARRETT (image “M”), V68 stated, “[u]m, oh my God, ya, I recognize that photo.”

Image “M” depicted BARRETT with a bare chest in a bathroom wearing what appears to be a

towel wrapped around his midsection covering his genitalia. V68 stated that the individual in

the image is named “Charles.” V68 stated he believed he was talking to Charles in the chat.

V68 only referred to BARRETT by his first name.

       15.    V68 was shown various images that he sent to and were received by BARRETT.

V68 confirmed that he was the individual depicted in many of those photos, including ones that


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displayed his genitalia.

       16.     Another conversation was identified on the Apple Macbook Pro between

BARRETT (Kik 3 user blabber***smoke; associated with email address m

markeyfan***@gmail.com) and a Kik user identified as V69 between November 12, 2013, and

November 25, 2013. V69 informed BARRETT that he was 16 years old and attended high

school in San Francisco. Nevertheless, BARRETT continued interacting with V69, sent V69

sexually explicit images of himself, and encouraged V69 to send BARRETT sexually explicit

images of V69, which BARRETT received. During the period from November 12, 2013, to

November 25, 2013, V69 sent, and BARRETT received, at least four (4) sexually explicit images

of V69, which lasciviously displayed V68’s genitalia.

       17.     On or about March 22, 2022, Special Agent Steve Van Maren served a

Department of Homeland Security summons on Kik Interactive Inc. (Kik) pertaining to Kik user

“blabber***smoke.” On or about March 25, 2022, Kik responded and confirmed that the first

name associated with the account is “Charles” and the email address associated is

“markeyfan***@gmail.com.”

       18.     I also reviewed other chat conversations located on the aforementioned Apple

Macbook Pro. One (1) conversation from Kik was found between peace***pride and

blabber***smoke (BARRETT) between July 5, 2013, and July 29, 2013. On July 5, 2013,

blabber***smoke stated, “[h]ey it’s Charles from grindr.” Later in the conversation,

peace***pride asked for BARRETT’s number and then provided his number to BARRETT. In



3
  Kik Messenger, commonly called Kik, is a freeware instant messaging mobile application
(app).

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response, BARRETT provided the telephone number ending in 9393.

                                         CONCLUSION

       19.     Based on the above information, I believe that there is probable cause that Charles

Richard BARRETT received child pornography in violation of Title 18, United States Code,

section 2252(a)(2). I respectfully request that a no bail arrest warrant be issued for Charles

Richard BARRETT.

       I declare under penalty of perjury that the statements above are true and correct to the

best of my knowledge and belief.


                                                 /s/ Christine Brital
                                              _____________________________________
                                              Christine Brital, Special Agent
                                              Homeland Security Investigations


Sworn and subscribed to me by telephone this 30th day of March, 2022.


____________________________________
HON. JOSEPH C. SPERO
Chief United States Magistrate Judge




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